AO 91 (Rev. 5/85) Criminal Complaint

UNITED STATES DISTRICT COURT“
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SOUTHERN DISTRICTOF OHIO

UNITED STATES OF AMERICA wT

Vv. CRIMINAL COMPLAINT

14 05MJ00257

I, Joshua 8. Bezy, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge
and belief. Gn July 29, 2005 in Hamilton County, in the Southern District of Ohio, defendant(s) did,

 

(1) knowingly and unlawfully possess a firearm in and affecting interstate commerce, having been
previously convicted of a crime punishable by a term of imprisonment exceeding one (1) year; and

(2) knowingly and unlawfully possess with intent to distribute a controlled substance to wit: heroin

in violation of Title 18 United States Code, Section(s) _922(g)(1) and Title 21 U.S.C. §§841(a)(1) and (b)(1)(A)(iii).

I further state that I am a Special Agent with the Bureau of Aicchol, Tobacco and Firearms and that this complaint is based on the
following facts:

See Attached Affidavit

Continued on the attached sheet and made a part hereof: Efyes Ono

 
   
 

   

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Si re of Complainant 7
Sworn to before me and subscribed in my presence,
09/08/2005 Cincinnati, OH

AT

 

 

Date

Timothy 8S. Hogan, United States Magistrate Judge

 

Name and Title of Judicial Officer

 

 
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AFFIDAVIT

1. This affidavit is submitted in support of an application for a United States Court
Criminal Complaint and Arrest Warrant from the United States District Court for
the Southern District of Ohio.

2. I, Joshua S. Bezy, am a Special Agent with the Bureau of Alcohol, Tobacco,
Firearms & Explosives (ATF) and have been so employed for over three (3)
years. As part of my training with the ATF, I graduated from the Federal Law
Enforcement Training Center Criminal Investigator School in Glynco, GA. I also
graduated from the ATF National Academy New Professional Training school in
Glynco, GA. I am an ATF Firearms Interstate Nexus Expert and have testified as
an expert witness in that capacity on numerous occasions in federal court. Prior
to my employment with the ATF, I was a police officer with the Indianapolis
Police Department. I am also a graduate of Indiana University and the Indiana
University School of Law- Indianapolis where I studied criminal law, criminal
procedure and constitutional law. I have participated in the preparation and
execution of both federal search and federal arrest warrants.

3. The information contained in this affidavit is based on personal knowledge and on
information received from other law enforcement officers.

4. On 07/24/2005, Gregory Ellis died as a result of homicidal violence at 887
Glenwood Avenue in Cincinnati, OH. Cincinnati Police Department (CPD)
Homicide Investigators subsequently identified Kofi M. COOPER as a suspect in
that homicide.

5. On 07/29/2005, CPD Homicide Investigators obtained a state search warrant for
the residence of Kofi M. COOPER at 3603 Shaw Avenue, Cincinnati, OH 45208.
Investigators began a surveillance of COOPER’s residence and observed her
leaving her home on Shaw Avenue with a young female child and enter a Blue
Jeep Laredo. Cincinnati Police Officers followed COOPER and conducted a
traffic stop on the Norwood Lateral area of Cincinnati, OH. Officers placed
COOPER in custody and towed the Jeep Laredo to the Cincinnati Police
Department Impound Lot.

6. CPD Homicide Investigators and officers then executed the search warrant at
COOPER’s residence at 3603 Shaw Avenue, Cincinnati, OH. Officers recovered
numerous items including a Street Sweeper .12 gauge shotgun, suspected
narcotics, firearm accessories, and U.S. currency from the master bedroom of
COOPER’s residence.

7. Investigators attempted to interview COOPER regarding her involvement in the
homicide and the evidence recovered from her home. COOPER refused to
cooperate with investigators on either matter. COOPER was then booked on

 
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charges of Aggravated Murder, Aggravated Robbery, Drug Possession, and
Weapons Under Disability. COOPER is described as a black female, 5-3 tall,
125Ibs and has FBI # 812689AB6.

8. On 08/01/2005, CPD Homicide Investigators obtained a state search warrant for
the Blue Jeep Laredo that COOPER was driving at the time of her arrest.
Investigators recovered a Glock .45 caliber pistol from the center console of that
vehicle. Investigators further learned that the Jeep Laredo is registered to
Enterprise-Rent-A-Car and was under a rental agreement to COOPER as of
07/25/2005. .

9. On 08/01/2005, CPD officers test-fired the two firearms recovered from
COOPER and found that they are both operable and in good working condition.

10. On 08/03/2005, Hamilton County (OH) Crime Laboratory Forensic Scientist
Jeffrey W. Reineke analyzed the suspected narcotics recovered from COOPER’s
residence on 07/29/2005. Reineke determined that Exhibit 1-1 contained 138.9
grams of heroin and benzocaine (a narcotics cutting agent).

11. On 08/23/2005, CPD Officer Jennifer Ernst conducted a computerized query of
COOPER’s criminal history and learned that COOPER has a lengthy arrest record
and several felony convictions. On this same date, Off. Ernst obtained certified
copies of criminal conviction for the following Ohio felony convictions:

a. On 07/26/1995, the Hamilton County (OH) Court of Common Pleas
Grand Jury indicted Kofi M. COOPER for Receiving Stolen Property and
Felonious Assault under case number B9505338. On 10/04/1995,
COOPER pled guilty to Receiving Stolen Property (F-3) and Felonious
Aggravated Assauit (F-2) and received a total sentence of three (3) to
fifteen (15) years incarceration.

b. On 09/28/1995, the Hamilton County (OH) Court of Common Pleas
Grand Jury indicted Kofi M. COOPER for Robbery under case number
B9508650. On 10/04/1995, COOPER pled guilty to Aggravated Robbery
(F-2) and received a sentence of three (3) to fifteen (15) years
incarceration.

12. On 08/23/2005, Officer Ernst submitted a fingerprint card relating to COOPER’s
1995 felony convictions to the Hamilton County (OH) Sheriff's Department
Bureau of Identification Unit. Deputy Nimesskern compared this fingerprint card
to the fingerprint card from COOPER’s arrest on 07/29/2005. Deputy
Nimesskern determined that both of the fingerprint cards were made by one
person, Kofi M. COOPER.

13. On 09/08/2005, your affiant examined the firearms recovered from Kofi M.
COOPER on 07/29/2005 and 08/01/2005. Your affiant identified the firearms as

 
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a S/S, model Street Sweeper, .12 gauge revolving cylinder shotgun bearing serial
number 12782 and a Glock, model 36, .45 caliber pistol bearing serial number
FBS722 respectively. Your affiant determined that neither of the firearms were
manufactured in the State of Ohio. Therefore, both of the firearms must have
traveled in interstate commerce to appear in the possession of Kofi M. COOPER
in the State of Ohio.

14. Based on the above facts and circumstances, your affiant believes that Kofi M.
COOPER did unlawfully possess a firearm, to wit: an S/S Street Sweeper .12
gauge shotgun, that affected interstate commerce in violation of Title 18 United
States Code §922(g)(1).

15. Based on the above facts and circumstances, your affiant believes that Kofi M.
COOPER did unlawfully possess a firearm, to wit: a Glock Model 36 .45 caliber
pistol, that affected interstate commerce in violation of Title 18 United States
Code §922(¢){1).

16. Based on the above facts and circumstances, your affiant believes that Kofi M.
COOPER did unlawfully possess a controlled substance with intent to distribute
in violation of 21 U.S.C. §841(a)(1).

Further affiant — naught,

Joshua S. Bezy —>
Special Agent, ATF
Cincinnati, OH

Subscribed and sworn to before me thig G Ee of SeptemberZ005.
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Timothy S. Ho
United States Magigtrafe Jud
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